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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

                 Plaintiff(s),                          Criminal No. 14-393 [1] (DRD)

 v.

 BENJAMIN ALLEN OLIVER [1],

                 Defendant(s).


                 ORDER APPROVING MAGISTRATE JUDGE’S
          REPORT AND RECOMMENDATION RE: RULE 11 PROCEEDINGS

       The Court has evaluated the Magistrate Judge’s Report and Recommendation of the Rule 11

proceedings regarding defendant contained in the Report and Recommendation, Docket No. 66.

       The principal consideration is whether that plea was knowingly, voluntary and intelligently

made within the terms of Rule 11, United States v. Isom, 85 F.3d 831, 835-837 (1st Cir.1996). In

order to ascertain whether defendant made a knowingly, voluntary and intelligent plea, the

United States Court of Appeals for the First Circuit has identified three core concerns: absence of

coercion, defendant’s understanding of the charges and the defendant’s knowledge of the

consequences of the guilty plea. United States v. Gray, 63 F.3d 60-61 (1st Cir.1995), United States v.

Cotal Crespo, 47 F.3d 1, 4 (1st Cir.1995), cert. denied 516 U.S. 827 (1995).

       The Court in examining the three core concerns must “review the totality of the

circumstances surrounding the Rule 11 hearing, rather than apply a ‘talismatic test,’” United States v.

Cotal Crespo, 47 F.3d at 4-5.
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       The Court having examined the Report and Recommendation of the Magistrate Judge finds

that the plea entered by the defendant was knowingly, voluntary and intelligent as understood in the

terms of Rule 11. The plea of defendant is therefore, accepted and the defendant is adjudged guilty

as to Counts One and Two of the Indictment.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 30th day of December, 2014.

                                                     s/Daniel R. Domínguez
                                                     DANIEL R. DOMINGUEZ
                                                     United States District Judge




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